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CV 02-1178 #1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff
v.
SHELL PIPELINE COMPANY LP fka
EQUILON PIPELINE COMPANY LLC
and OLYMPIC PIPE LINE COMPANY,

Defendants.

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CVO2 11784

Civil Action No.

COMPLAINT OF THE UNITED
STATES OF AMERICA AGAINST
SHELL PIPELINE COMPANY LP fka
EQUILON PIPELINE COMPANY LLC
AND OLYMPIC PIPE LINE COMPANY

The United States of America, by authority of the Attorney General of the United

States and through the undersigned attorneys, acting on behalf of the Administrator of the

United States Environmental Protection Agency (EPA), files this complaint and alleges as

follows:

INTRODUCTION

}, This ts a civil action against Shell Pipeline Company LP fka Equilon Pipeline

Company LLC (Shell) and Olympic Pipe Line Company (Olympic), brought pursuant

to the Federal Water Pollution Control Act, commonly referred to as the Clean Water

Act (CWA), 33 U.S.C. § 1251 ef seq., as amended by the Oil Pollution Act (OPA),

33 U.S.C. § 2701, et seq., for civil penalties and injunctive relief for the discharge of

COMPLAINT - PAGE 1

Wayne T. Ault

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gasoline into or upon the navigable waters of the United States or adjoining
shorelines, in violation of §§ 301(a} and 311(b}(3) of the CWA, 33 U.S.C.
$§ 1311(a}, 1321(b)(3).

JURISDICTION, VENUE, and AUTHORITY
This Court has jurisdiction over this action pursuant to §§ 309(b} and 3 11(b)(7)(E) of
the CWA, 33 U.S.C. §§ 1319(b), 1321(b)(7)(E), and 28 U.S.C. §§ 1331, 1345
and 1355.
Venue is proper in this judicial district pursuant to §§ 309(b) and 311(b)(7)(E) of the
CWA, 33 USS.C. §§ 1319(b), 1321(b)(7)(E), and 28 U.S.C. § 1391(b), as this is a
judicial district within which both Shell and Olympic are doing business, and within
which the United States’ claims arose.
The United States Department of Justice has authority to bring this action on behalf of
the Administrator of EPA pursuant to § 506 of the CWA, 33 U.S.C. § 1366, and
28 ULS.C. §§ 316 and 519.

DEFENDANTS

Shell is a corporation that is doing business in the State of Washington.
On or about July 1, 1998, Equilon Pipeline LLC (Equilon) merged with Texaco
Pipeline, Inc. (TPL, with Equilon as the surviving entity. Pursuant to that merger,
Equilon assumed all debts, liabilities, and duties of TPLI to the same extent as if
those debts, liabilities, and duties were incurred or contracted by Equilon. On
May 1, 2002, Equilon changed its corporate name to Shell Pipeline Company LP.
Hereafter, this complaint shall refer to Shell and its predecessors, Equilon and TPLI,
collectively as Shell.

Olympic is a corporation that is doing business in the State of Washington.

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STATUTORY AND REGULATORY FRAMEWORK
Prohibition Against the Discharge of Oil
Pursuant to § 311(b)(3) of the CWA, 33 U.S.C. § 1321(b)(3), the discharge of oil into
or upon the navigable waters of the United States or adjoining shorelines in such
quantities as the President determines may be harmful to the public health or welfare
or the environment of the United States is prohibited.
The term “discharge” includes, but is not limited to, any spilling, leaking, pumping,
pouring, emitting, emptying or dumping. CWA § 311(a)(2), 33 U.S.C. § 1321(a)(2).
The term “oil” means oil of any kind or in any form including, but not limited to,
petroleum, fuel oil, sludge, oil refuse, and oil mixed with wastes other than dredged
spoil. CWA § 311(a)(1), 33 U.S.C. § 1321 (a)(1).
The term “navigable waters” means the waters of the United States, including the
territorial seas. CWA § 502(7), 33 U.S.C. § 1362(7).
Pursuant to § 311(b)(4) of the CWA, 33 U.S.C. § 1321(b)(4), acting through its
delegated authority under Executive Order No. 11735, 38 Fed. Reg. 21243
(Aug. 7, 1973), EPA has determined by regulation that the quantities of oil that may
be harmful to the public health or welfare or the environment of the United States
include discharges of oil that violate applicable water quality standards, or cause a
film or sheen upon, or discoloration of the surface of the water or adjoining shoreline,
or cause a sludge or emulsion to be deposited beneath the surface of the water or upon
the adjoining shorelines. 40 C.F.R. § 110.3.
Civil Penalties for the Discharge of Oil
Any person who is the owner, operator, or person in charge of any onshore facility
from which oil is discharged in violation of § 311(b)(3) of the CWA shall be subject

to a civil penalty of up to $27,500 per day of violation or of up to $1,100 per barrel of

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oil discharged, pursuant to § 311(b)(7)(A) of the CWA, 33 U.S.C. § 1321(b)(7)(A),
and 28 U.S.C. § 2461 note, Pub. L. No. 101-410, as amended by 31 U.S.C. § 3701
note, Pub. L. No. 104-134.

In any case in which a violation of § 311(b)(3) of the CWA was the result of gross
negligence or willful misconduct of a person described in § 311(b)(7)(A) of the
CWA, the person shall be subject to a civil penalty of not less than $110,000, and not
more than $3,300 per barrel of oil discharged, pursuant to § 311(b)(7)(D) of the
CWA, 33 U.S.C. § 1321(b)(7)(D), and 28 U.S.C. § 2461 note, Pub. L. No. 101-410,
as amended by 31 U.S.C. § 3701 note, Pub. L. No. 104-134.

The term “person” includes an individual, firm, corporation, association, and a
partnership. CWA § 311(a)(7), 33 U.S.C. § 1321(a}(7).

The term “onshore facility” means any facility of any kind located in, on, or under,
any land within the United States. CWA § 311 (a)(10), 33 U.S.C. § 1321(a)(10).
Prohibition Against the Discharge of Pollutants

Pursuant to § 301(a) of the CWA, 33 U.S.C. § 1311(a), the discharge of any poliutant,
including gasoline, by any person is unlawful except as authorized by and in
compliance with CWA permitting or other provisions.

The term “discharge of a pollutant” includes any addition of any pollutant to
navigable waters from any point source. CWA § 502(12), 33 U.S.C. § 1362(12).
The term “pollutant” includes, but is not limited to, solid waste, chemical wastes, and
industrial waste discharged into water. CWA § 502(6), 33 U.S.C. § 1362(6).

The term “point source” means any discernible, confined and discrete conveyance,
including but not limited to any pipe, ditch, channel, tunnel, conduit, well, discrete
fissure, or container from which pollutants are or may be discharged. CWA

§ 502(14), 33 U.S.C. § 1362(14).

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The term “person” includes an individual, firm, corporation, association, and a
partnership. CWA § 502(5), 33 U.S.C. § 1362(5); CWA § 311(a)(7), 33 U.S.C.
§ 1321(a)(7).
Injunctive Relief for the Discharge of Pollutants
Pursuant to § 309(b) of the CWA, 33 U.S.C. § 1319(b), EPA may commence a civil
action for appropriate injunctive relief for any violation for which EPA is authorized
to issue a compliance order pursuant to § 309(a) of the CWA, 33 U.S.C. § 1319 (a),
which authorizes compliance orders for unlawful discharges of pollutants in violation
of § 301 (a) of the CWA, 33 ULS.C. § 1311 (a).

FACTUAL ALLEGATIONS
From 1965 (at the latest) through the present, Olympic owned and operated a pipeline
system that is used for transporting gasoline and other petroleum products, and
includes approximately 400 miles of pipeline running between Ferndale, Washington,
and Portland, Oregon, and associated structures and buildings used for operations and
administration, control equipment, pumps, valves, storage tanks, and other equipment
used in the operation of the pipeline (collectively referred to as the Pipeline System).
From approximately July 1, 1991 until present, Shell held approximately a 37.5%
ownership interest in Olympic.
From approximately July 1, 1991 until approximately June 30, 2000, Shell had a
contractual relationship with Olympic concerning management and operation of
Olympic and the Pipeline System.
Beginning on June 10, 1999, the Pipeline System ruptured in Bellingham,
Washington, and discharged approximately 236,796 gallons (5,638 barrels) of

gasoline into Hanna and Whatcom Creeks, and upon their adjoining shorelines. On

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June 15, 1999, gasoline continued to leak into Whatcom Creek at the rate of
approximately four gallons per hour (hereafter referred to as the Incident).

The Incident resulted in a layer of gasoline approximately three inches thick on the
surface of Hanna and Whatcom Creeks over a distance of approximately 2 to

2 % miles.

Within approximately 94 minutes of the rupture, the gasoline ignited, resulting in a
fireball that traveled along Whatcom Creek for more than a mile, devastating
everything in its path, and generating a plume of smoke approximately six miles high.
Hanna Creek is a small tributary of Whatcom Creek, and empties into Whatcom
Creek in Whatcom Falls Park, in Bellingham, Washington. Whatcom Creek flows
generally from east to west through Whatcom Falls Park and the downtown core of
Bellingham, Washington, and empties into Bellingham Bay at the edge of the city
center. Bellingham Bay opens into the Straight of Georgia in the vicinity of the San
Juan Islands, which is used extensively for recreation and has abundant sea life.

The rupture occurred in or near Whatcom Falls Park, approximately three miles
inland from Bellingham Bay.

Asa result of the Incident, three people were killed, including two ten-year-old boys
playing in or near Whatcom Creek, who died from burns within 24 hours, and an
eighteen-year-old man fishing in Whatcom Creek, who was overcome by fumes from
the gasoline and drowned in the Creek before the gasoline ignited. At least nine other
people were injured and one home was completely destroyed.

The gasoline spill and resulting fire killed over 100,000 fish, including juvenile
salmon (coho, chinook, chum, and sockeye), trout (steelhead, rainbow, and cutthroat),
juvenile lamprey, and other species; and killed other aquatic organisms in the

impacted area, including frogs and salamanders. Damage survey teams could not find

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any live fish or other aquatic organisms in Whatcom Creek in the days following the

incident. A non-inclusive list of other species of wildlife killed as a result of the

Incident includes pigeon, red-tailed hawk, American Dipper, River otter, and

Cottontail rabbit. The habitats for these aquatic organisms and wildlife also were

damaged or destroyed, necessitating extensive restoration work to rebuild an

environment in which those organisms could live.

The fire destroyed approximately 2 to 2 4 miles of riparian vegetation along both

banks of Whatcom Creek and also killed and injured mature growth trees within a

bum zone encompassing 26 acres.

The discharge of gasoline from the Pipeline System during the Incident contaminated

the entire water column and beds of the affected portions of Hanna and Whatcom

Creeks. Gasoline is toxic to fish and other aquatic life. Small concentrations of

gasoline in water can cause death to aquatic organisms, including fish, or impair their

growth. Minute quantities of gasoline can cause reproductive impairment in wildlife.

The City of Bellingham’s municipal water system was adversely affected by the

Incident. Emergency repairs to pipes and pumping systems were necessary after the

Incident, and trace amounts of gasoline constituents were detected in the municipal

water supply.

The following factors caused or contributed to the Incident:

A. Failure to supervise, inspect, or monitor construction activity near the pipeline
adequately to prevent or detect physical damage to the pipeline near the
location of the rupture.

B. Failure to detect and repair physical damage to the pipeline near the location

of the rupture.

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C. Inadequacies in the design, construction, maintenance and operation ofa
facility on the Pipeline System known as the Bayview Station and equipment
located at or near the Bayview Station.

D. Inadequacy of the computer system used to monitor and control the Pipeline
System.

E. Inadequate operator training.

F, Operator error on the day of the rupture.

G. Management decisions related to these factors.

Shell is a “person” as defined in § 31 1(a)(7) of the CWA, 33 U.S.C, § 1321 (a)(7).

Based on the involvement and authority of Shell and its employees and agents related

to the Incident and the factors that contributed to the Incident, Shell was by contract

or in fact a person who was an owner, operator, or person in charge of the Pipeline

System, within the meaning of § 311 of the CWA, 33 U.S.C. § 1321, from

approximately July 1, 1991 until approximately June 30, 2000.

Shell’s actions and inaction related to the Incident and the factors that contributed to

the Incident constituted gross negligence or willful misconduct within the meaning of

§ 311(b\7)(d) of the CWA, 33 U.S.C. § 1321(b)(7)\(d).

Olympic is a “person” as defined in §§ 311(a)(7) and 502(5) of the CWA, 33 U.S.C.

§ 1321(a)(7) & 1362(5).

Olympic was a person who was an “owner or operator or person in charge” of the

Pipeline System, within the meaning of § 311 of the CWA, 33 U.S.C. § 1321, from at

least 1965 until the present.

Olympic’s actions and inaction related to the Incident and the factors that contributed

to the Incident constituted gross negligence or willful misconduct within the meaning

of § 31 1(b)(7Xd) of the CWA, 33 U.S.C. § 1321(b)(7)(d).

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The Pipeline System is an “onshore facility” as defined in § 31 1(a)(10) of the CWA,
33 U.S.C. § 1321 (a)Ci0).

Gasoline is “oil,” as defined in § 311(a)(1) of the CWA, 33 U.S.C. § 1321(a)(1), and
is a “pollutant” as defined in § 502(6) of the CWA, 33 U.S.C. § 1362(6).

The release of gasoline from the Pipeline System during the Incident was a
“discharge” within the meaning of § 311(a)(2) of the CWA, 33 U.S.C. § 1321(a)(2),
and was a “discharge of a pollutant” within the meaning of CWA § 502(12),

33 U.S.C. § 1362(12).

The Pipeline System was a “point source” as defined in CWA § 502(14), 33 U.S.C.
§ 1362(14), of the gasoline discharged from the Pipeline System during the Incident.
The discharges of gasoline from the Pipeline System during the Incident were not
authorized or permitted pursuant to any of the CWA provisions listed in CWA

§ 301 (a), 33 U.S.C. § 1311 fa).

Hanna Creek and Whatcom Creek are navigable waters as defined in § 502(7) of the
CWA, 33 ULS.C. § 1362(7).

The amount of gasoline discharged during the Incident constituted a discharge in such
quantity as has been determined to be harmful to the public heaith or welfare or
environment of the United States, within the meaning of § 311(b)(4) of the CWA,

33 U.S.C. § 1321(b)(4), and 40 C.F.R. § 110.3.

FIRST (ALTERNATIVE) CLAIM FOR RELIEF AGAINST SHELL
PENALTIES PURSUANT TO § 311(b}(7)(D) OF THE CWA
Paragraphs | through 49 are realleged and incorporated by reference.
Shell was a person who was the owner, operator, or person in charge of an onshore
facility from which oil was discharged during the Incident in violation of § 311(b)(3)
of the CWA, 33 U.S.C. § 1321(b)(3).

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Shell’s actions and inaction related to the Incident, and the factors that caused or

contributed to the Incident, constituted gross negligence or willful misconduct within

the meaning of § 311(b)(7}(D) of the CWA, 33 U.S.C. § 1321(b)(7)(D).

Accordingly, pursuant to § 311(b)(7)(D) of the CWA, 33 U.S.C. § 1321(b)(7)(D), and

28 U.S.C. § 2461 note, Pub. L. No. 101-410, as amended by 31 U.S.C. § 3701 note,

Pub. L. No. 104-134, Shell is liable for a civil penalty of not less than $110,000, and

not more than $3,300 per barrel of gasoline discharged, with the penalty amount

determined in accordance with § 311(b)(8) of the CWA, 33 U.S.C. § 1321(b)(8).

SECOND (ALTERNATIVE) CLAIM FOR RELIEF AGAINST SHELL
PENALTIES PURSUANT TO § 311(b)(7)(A) OF THE CWA

Paragraphs 1 through 49 are realleged and incorporated by reference.

Shell was a person who was the owner, operator, or person in charge of an onshore

facility from which oil was discharged during the Incident in violation of § 311(b)(3)

of the CWA, 33 U.S.C. § 1321(b)(3).

Accordingly, pursuant to § 311(b)(7)(A) of the CWA, 33 U.S.C, § 1321(b)(7)(A), and

28 U.S.C. § 2461 note, Pub. L. No. 101-410, as amended by 31 U.S.C. § 3701 note,

Pub. L. No. 104-134, Shell is liable for a civil penalty of up to $27,500 per day of

violation or of up to $1,100 per barrel of gasoline discharged, with the penalty

amount determined in accordance with § 311(b)(8) of the CWA, 33 U.S.C.

§ 1321(b}(8).

FIRST (ALTERNATIVE) CLAIM FOR RELIEF AGAINST OLYMPIC
PENALTIES PURSUANT TO § 311(b)(7)(D) OF THE CWA

Paragraphs 1 through 49 are realleged and incorporated by reference.

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Olympic was a person who was the owner, operator, or person in charge of an
onshore facility from which oil was discharged during the Incident in violation of

§ 311(b)(3) of the CWA, 33 U.S.C, § 1321(b)(3).

Olympic’s actions and inaction related to the Incident, and the factors that caused or
contributed to the Incident, constituted gross negligence or willful misconduct within
the meaning of § 311(b)(7)(D) of the CWA, 33 U.S.C. § 1321(b)(7)(D).
Accordingly, pursuant to § 311(b)(7)(D) of the CWA, 33 U.S.C. § 1321(6)(7)(D), and
28 U.S.C. § 2461 note, Pub. L. No. 101-410, as amended by 31 U.S.C. § 3701 note,
Pub. L. No. 104-134, Olympic is liable for a civil penalty of not less than $110,000,
and not more than $3,300 per barrel of gasoline discharged, with the penalty amount
determined in accordance with § 311(b)(8) of the CWA, 33 U.S.C. § 1321(b)(8).
SECOND (ALTERNATIVE) CLAIM FOR RELIEF AGAINST OLYMPIC

PENALTIES PURSUANT TO § 311(b)(7)(A) OF THE CWA

Paragraphs | through 49 are realleged and incorporated by reference.

Olympic was a person who was the owner, operator, or person in charge of an
onshore facility from which oil was discharged during the Incident in violation of

§ 311(b)(3) of the CWA, 33 U.S.C. § 1321(b)(3).

Accordingly, pursuant to § 311(b)(7)(A) of the CWA, 33 U.S.C. § 1321(b)(7)(A), and
28 U.S.C. § 2461 note, Pub. L. No. 101-410, as amended by 31 U.S.C. § 3701 note,
Pub. L. No. 104-134, Olympic is liable for a civil penalty of up to $27,500 per day of
violation or of up to $1,100 per barrel of gasoline discharged, with the penalty
amount determined in accordance with § 311(b)(8) of the CWA, 33 U.S.C.

§ 1321(b}(8).

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THIRD CLAIM FOR RELIEF AGAINST OLYMPIC

INJUNCTIVE RELIEF PURSUANT TO § 309(b) OF THE CWA

64. Paragraphs | through 49 are realleged and incorporated by reference.

65. | Olympic’s discharge of gasoline during the Incident was a discharge of a pollutant in
violation of CWA § 301{a), 33 U.S.C. § 1311{a).
66. Accordingly, pursuant to CWA § 309(b), 33 U.S.C. § 1319(b), the United States,

 

 

acting on behalf of EPA, is entitled to appropriate injunctive relief.
REQUEST FOR RELIEF
WHEREFORE Plaintiff, the United States of America, requests that the Court:
A. Impose civil penalties against Shell of up to $3,300 per barrel of oil
discharged;
B, Impose civil penalties against Olympic of up to $3,300 per barrel of oil
discharged;
Cc. Impose appropriate injunctive relief on Olympic;
D. Award the United States its costs in this action, and
E. Grant such other and further relief as the Court deems just and proper.
Dated this <“% dayof WA , 2002
Respectfully submitted,
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OF bi a Qanocneth
THOMAS L. SANSONETTI
Assistant Attorney General
Environment and Natural Resources Division
United States Department of Justice
JOHN MCKAY
United States Attorney
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Cheryl T. Rose, Attorney

 

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